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                                                                                   2013 Sep-05 PM 12:49
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA




                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           ATLANTA DIVISION


CHRISTINA HARDIN,                         Civil Action No.:
                                          4:13-cv-01463-VEH
               Plaintiff,

      vs.

CENTRAL CREDIT SERVICES,
INC.; and DOES 1 through 10,
inclusive,

              Defendant.


                            NOTICE OF SETTLEMENT

      Plaintiff, CHRISTINA HARDIN, by and though her attorney, informs this

Honorable Court that Plaintiff has settled her case with Defendants, CENTRAL

CREDIT SERVICES, INC.; and DOES 1 through 10, inclusive. The parties are in

the process of finalizing settlement, and Plaintiff anticipates the settlement will be

finalized in 40 days. Plaintiff respectfully requests that this Honorable Court vacate

all dates currently set on calendar for this case.



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DATED: September 5, 2013

                                        RESPECTFULLY SUBMITTED,


                                        By: /s/ Brandon Walker, Esq.
                                        Brandon Walker, Esq.
                                        (ASB-7482-H62W)
                                        Walker McMullan, LLC
                                        242 West Valley Avenue
                                        Suite 312
                                        Birmingham, AL 35209
                                        (205) 417-2541
                                        brandon@walkermcmullan.com
                                        Attorney for Plaintiff
                                        Christina Hardin




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